         Case 1:17-cv-12548-NMG Document 61 Filed 12/04/19 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS (BOSTON)



 MARK BETTENCOURT, individually, and
 on behalf of all others similarly situated,

                        Plaintiff,
                                                     Case No.: 1:17-cv-12548-NMG
                v.

 JEANNE D’ARC CREDIT UNION and
 DOES 1 through 100,

                        Defendants.




                       PARTIES’ JOINT NOTICE OF SETTLEMENT


        Plaintiff Mark Bettencourt and Defendant Jeanne D’Arc Credit Union (collectively, the

“Parties”) have reached a settlement in this case subject to final documentation, class notice and

other class action settlement proceedings. Accordingly, the Parties request that the Court vacate

all upcoming hearing dates and deadlines currently scheduled in this matter. A formal settlement

agreement will be circulated between the Parties for review and approval. Once all of the

appropriate signatures have been obtained, a motion for preliminary approval of the settlement

will be filed with the Court. The Parties anticipate filing such motion on or before January 10,

2020.



Dated this 4th day of December, 2019.




                                                 1
         Case 1:17-cv-12548-NMG Document 61 Filed 12/04/19 Page 2 of 3



Respectfully submitted,


McCUNE WRIGHT AREVALO, LLP                        KATTEN MUCHIN ROSENMAN LLP

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    Attorneys for Plaintiff,                         Attorneys for Defendant,
    Mark Bettencourt and the Putative Class          Jeanne D’Arc Credit Union




                                              2
         Case 1:17-cv-12548-NMG Document 61 Filed 12/04/19 Page 3 of 3



                                CERTIFICATE OF SERVICE



       I certify that on December 4, 2019, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send a notice of electronic filing to all CM/ECF

participants in the above-referenced matter.



                                                     /s/ Richard D. McCune
                                                     Richard D. McCune




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